Case 2:20-cv-05731-KES Document 25 Filed 04/26/21 Page 1 of 1 Page ID #:828



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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
                                                     Case No. 2:20-CV-05731 KES
11   DAWN DEANNE E.,
12                Plaintiff,
13          v.                                                JUDGMENT
14   ANDREW M. SAUL, Commissioner of
     Social Security,
15
                  Defendant.
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18         IT IS HEREBY ADJUDGED that, for the reasons set forth in the
19   Memorandum Opinion and Order, the decision of the Commissioner of the Social
20   Security Administration is affirmed and this action is dismissed with prejudice.
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22   DATED: April 26, 2021
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24                                         ____________________________________
                                           KAREN E. SCOTT
25                                         United States Magistrate Judge
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